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                                AFFIDAVIT
     I, Jason Jones, being duly sworn, declare and state as

follows:

                         PURPOSE OF AFFIDAVIT

             This affidavit is made in support of a criminal

complaint against and warrants to arrest CHARLES WESSON II

(“WESSON”) and KENNETH LEWIS (“LEWIS”) for a violation of 18

U.S.C. § 1343 (wire fraud).

             The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.

             This affidavit is intended to show only that there is

probable cause for the requested complaint and arrest warrants,

and does not purport to set forth all of my knowledge of or

investigation into this matter.

             Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only. Further, all dates and

amounts are approximations, and the words “on or about” and

“approximately” are omitted for clarity.

                         BACKGROUND OF AFFIANT

             I am a Special Deputy United States Marshal and member

of the Southern California High Tech Crimes Task Force. I have

been a sworn peace officer with the Los Angeles County Sheriff’s

Department (“LASD”) for over 19 years and have been a detective

for LASD for over eight years. As an LASD detective, I am


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assigned to the LASD Fraud and Cyber Crimes Bureau. I have

received formal and informal training from LASD, the Federal

Bureau of Investigation, the United States Secret Service, and

private organizations dedicated to investigating identity theft

and cyber-crimes.
           After completing the LASD academy, I was assigned to

the LASD Custody Division for more than four years, where I

provided security for thousands of inmates. While working in

this capacity, I spoke with inmates regarding criminal behavior,

criminal activity, and methods used to detect and avoid law

enforcement. I also spent more than five years working patrol

assignments at the LASD Palmdale and Santa Clarita Stations. I

spent one year as a Field Training Officer and was responsible

for supervising and training patrol deputies on how to conduct

criminal investigations. In this capacity, I developed

experience related to crime scene investigations, interviewing

witnesses and suspects, and proper evidence collection and

documentation.

                      SUMMARY OF PROBABLE CAUSE

           Over the past several years, CHARLES WESSON II

(“WESSON”) and KENNETH LEWIS (“LEWIS”) have used stolen

identities to purchase and attempt to purchase expensive cars

and motorcycles, and to rent high-end apartments, around the

country, including in California, Alabama, and Georgia. WESSON

and LEWIS financed the purchase of the vehicles through

financial institutions, and applied for the luxury apartments

using online products that generated interstate wires.


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                     STATEMENT OF PROBABLE CAUSE
           Based on my review of third-party records, law

enforcement reports, search warrant evidence, conversations with

other law enforcement agents, and my own knowledge of the

investigation, I am aware of the following:

     A.    Victim RM reports that his identity was used to
           purchase high-end vehicles

           On February 22, 2021, victim RM filed an identity

theft report with the Murietta Police Department (“MPD”) stating

that his personal identifying information (“PII”) had been

stolen and used to purchase cars from car dealerships in

Georgia, Florida, North Carolina, and California.

           MPD Detective Mehr began investigating RM’s report and

discovered that one of the cars the suspects attempted to

purchase was from Gwinett Place Ford in Duluth, Georgia.

Detective Mehr contacted the Gwinett Place operations manager

and obtained copies of the online purchase application and

communications between the suspects and the dealership. The

purchase application was submitted using RM’s name, social
security number, date of birth, and previous address, along with

a counterfeit California driver’s license bearing RM’s name and

social security number, but not RM’s photograph.

           As part of the online application process, the

suspects provided a delivery address to Gwinett Place of PO Box

406 of a particular address in Los Angeles, California (“PO Box

406”), which was the address for a business called E&G Watch

Repair that -- in addition to watch repair -- also rented post


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office boxes. Mehr discovered that the suspects unsuccessfully

attempted to purchase a $175,700 Mercedes Benz G-Class using

RM’s PII from the Mercedes Benz dealership located in Calabasas,

California, then referred the investigation to LASD.

     B.    LASD identifies Wesson through PO Box 406
           On June 9, 2021, I contacted the owner of E&G Watch

Repair, who confirmed that PO Box 406 was one of the company’s

post office boxes. The owner provided a copy of the application

for PO Box 406, which showed that PO Box 406 was rented to

WESSON. On the application, which WESSON submitted on August 7,

2020, WESSON stated that his physical address was Apartment 315

of the Palazzo West apartment complex, located on West Third

Street, Los Angeles, California (“Apartment 315”). WESSON also

provided a copy of his Georgia driver’s license and health

insurance card as part of the application process. Georgia

Department of Motor Vehicles (“DMV”) records show that the

driver’s license WESSON provided was valid.

           I then checked WESSON’s criminal history and found

that he had previously been convicted of identity theft, grand

theft, and vehicle theft in Orange County, California. WESSON’s

criminal history further reflected that WESSON has been arrested

in Georgia for theft by deception and has outstanding arrest

warrants for identity theft in Orange County and failure to

appear in Georgia. I also obtained a copy of WESSON’s booking

photograph, taken following WESSON’s arrest in Orange County,

which occurred on August 23, 2018. The booking photograph




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appears as follows and matches the person depicted on the

Georgia driver’s license that WESSON used to open PO Box 406:




     C.    Wesson uses victim WP’s identity to rent Palazzo West
           Apartment 315

           As described above, on the application for PO Box 406,

WESSON stated that his physical address was Apartment 315. This

apartment is located within the Palazzo West apartment complex

in Los Angeles and is approximately a half mile from E&G Watch

Repair.

           I obtained records for Apartment 315 and found that

victim WP’s PII was used to acquire the unit. During the

application process, the individual who applied for Apartment

315 using WP’s identity provided a fake Florida driver’s license

bearing WP’s name and date of birth. However, the number on the




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license (R610-073-71-223-0) was not valid, and the individual

depicted on the license was WESSON, not WP 1:




           WESSON made some initial payments toward Apartment

315’s rent, but those payments were returned for insufficient

funds, and thereafter, WESSON never attempted to pay for the

unit. WESSON maintained possession of Apartment 315 from

November 23, 2019 to February 25, 2021, when LASD served an

eviction notice. As a result of WESSON’s fraudulent occupation

of Apartment 315, the Palazzo West apartment complex suffered a

loss of $68,159.

     D.    Lewis uses RM’s identity to rent Palazzo West
           Apartment 308

           While investigating WESSON’s use of WP’s identity to

rent Apartment 315, the Palazzo West manager informed me that

another tenant using RM’s identity moved into Palazzo West


     1 The application was submitted on November 15, 2019 using
an online product called RealPage, which captures signatures
using DocuSign. I spoke to RealPage’s legal team, who confirmed
that the company’s servers are located in Texas. DocuSign
confirmed that its domestic servers are located outside of
California.

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Apartment 308 in March 2021 and had not made any payments toward

the rent. Records show that RM’s PII was used to apply for and

rent Apartment 308 on March 14, 2021 using the online product

On-Site, a subsidiary of Real Page, which maintains its servers

in Texas. As part of the application process, the individual who

rented Apartment 308 submitted a Florida driver’s license

bearing RM’s name and PII. However, the license number (M302-

857-84-100-0) was not valid, and the individual depicted on the

license was LEWIS, not RM
           I then spoke to RM, who stated that he did not know

LEWIS or authorize LEWIS to use his PII for any reason. The

fraudulent driver’s license used to rent Apartment 308 appeared

as follows:




     E.    Wesson uses RM’s identity to rent Garment Lofts
           Apartment 401

           On March 8, 2021, WESSON electronically signed and

submitted an online lease through On-Site to rent Apartment 401

at the Garment Lofts, located on East 8th Street, Los Angeles,

California (“Apartment 401”). The lease was signed and submitted


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using RM’s PII, and WESSON provided a fake California driver’s

license, with an invalid license number, that displayed RM’s

name and WESSON’s photograph. Garment Lofts approved the

application and began renting Apartment 401 to WESSON on March

8, 2021 for a base rent of $2,950 per month. WESSON was later

evicted from Apartment 401. His outstanding balance with Garment

Lofts was $14,260.67. The counterfeit license WESSON used to

rent Apartment 401 appeared as follows:




     F.    Wesson and Lewis use victims GH and MK’s identities to
           purchase a Harley Davidson motorcycle

           On April 2, 2021, someone using victim GH’s stolen

identity purchased for $20,344.82 a Harley Davidson motorcycle,

bearing Vehicle Identification Number (“VIN”) 1HD1KTM13GH634662,

from the Cycle Exchange dealership on Main Street in Andover,

New Jersey (“the Harley Davidson motorcycle”). The application

and purchase were completed online, and was financed through

Community Bank NA for $20,344.82 using GH’s identity.




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            During the application process, the suspect provided

a counterfeit driver’s license that displayed GH’s PII but the

photograph of an unknown black male adult who was not GH. The

suspect also asked the dealership to deliver the motorcycle to

victim MK at Apartment 401 in Los Angeles, which is the Garment

Lofts apartment that WESSON fraudulently rented with RM’s

identity. As part of the delivery process, the suspect provided

a Florida driver’s license bearing MK’s PII, but the license

(bearing number K400-077-39-100-0) was not valid, and the

photograph on the license depicted WESSON, as follows:




           On April 29, 2021, the motorcycle was delivered to

Apartment 401, where WESSON accepted the motorcycle. That day,

the Cycle Exchange salesman contacted WESSON to confirm

delivery. WESSON confirmed that he received the motorcycle, and

thereafter sent to the salesman a photograph of the motorcycle

being delivered. The photograph depicted an individual who




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matches LEWIS’s appearance leaning over the Harley Davidson

motorcycle that was purchased with GH’s identity, as follows:




           I later contacted MK, a resident of California, who

informed me that he did know WESSON and never authorized him to

use his PII for any purpose. MK also filed an identity theft

report in June 2021 with the Menifee Police Department when he

discovered that his PII was being used to purchase vehicles and

obtain loans without his consent.
     G.    Wesson uses GH’s PII to purchase a high-end vehicle

           On April 6, 2021, a suspect used GH’s PII to purchase

a 2017 Mercedes Benz E-Class bearing VIN WDDZF6EB1HA242262 from

Texas Direct Auto Inc., dba E-Commerce Company Vroom Inc.

(“Vroom”), for $45,730. On the purchase documents, dated March

2, 2021, the suspect provided Apartment 401 (which WESSON rented

with RM’s PII) as his home address. The same driver’s license

used to purchase the Harley Davidson motorcycle described above

was used to purchase this Mercedes Benz. On April 21, 2021, the




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car was delivered to Apartment 401. The car is listed in the

Stolen Vehicle System as “stolen.” 2
     H.    Wesson attempts to use victim MB’s PII to purchase a
           Can-Am motorcycle

           Thereafter, a Cycle Exchange salesman informed me that

the same individual who purchased the Harley Davidson motorcycle

also applied to purchase a Can-Am Spyder F3-S motorcycle (“the

Can-Am”) from the dealership for $17,999 with PII that belonged

to a man named victim MB and requested that the Can-Am be

delivered to MK. 3 I then contacted MB, who is a resident of

Minnesota, and who informed me that the application was

submitted without his consent.

           When the Cycle Exchange salesman realized that the

same individual was attempting to purchase the Can-Am, he did

not process the sale, but remained in contact with the suspect.

On June 10, 2021, the suspect contacted the salesman, said that

he would be in Alabama for the next two months, and requested

that the Can-Am be delivered to a particular address on Denise

Drive in Prattville, Alabama, which is WESSON’s address of
record with the Alabama Department of Motor Vehicles.

           WESSON then made several calls to the salesman about

the delivery of the Can-Am from different phone numbers, one of

which was a Verizon phone assigned number ending in 2926.


     2 The Mercedes was financed through JP Morgan Chase for
$54,756.37 and was purchased via online application using
DocuSign, which does not maintain any servers in California.

     3 The credit application was signed on May 12, 2021 and
submitted to Community Bank NA.

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Verizon records show that this phone number was subscribed to

WESSON at Apartment 3462 of the Steelworks apartment complex on

Mecaslin Street NW in Atlanta, Georgia (“Apartment 3462”). I

then obtained a state warrant in case CHA21500372 to track this

number and found that the phone repeatedly pinged in the

vicinity of the Steelworks apartment complex.

     I.    Wesson uses victim AN’s PII to buy a Porsche Panamera
           and Land Rover

           On June 9, 2021, I again met with the manager of E&G

Watch Repair. While there, the store manager spontaneously

showed the me a large stack of unopened mail he retrieved from

WESSON’s mailbox (PO Box 406). When the manager did so, I

observed in plain view mail addressed to people other than

WESSON. On June 30, 2021, I executed a state-issued search

warrant on PO Box 406 in case CHA21500243 and found mail

addressed to victim AN, including correspondences from Porsche

Financial Services Inc. regarding the purchase of a 2020 Porsche

Panamera bearing VIN WP0AB2A73LL140813 (“the Panamera”). The

purchase records for the Panamera show that the car was financed

through Porsche Financial Services on December 30, 2020, and

purchased for $126,847.51 from the Collection LLC on Bird Road

in Coral Gables, Florida. During the application process, the

suspect used a fake California driver’s license bearing AN’s

name, but the photograph of an unknown male, to buy the car.

           I then found that in November 2020, AN filed a report

with the Huntington Beach, California Police Department

regarding the use of his stolen PII to buy a Land Rover from a


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dealership in Cary, North Carolina. Records from the dealership

show that the Land Rover credit application was submitted on

November 24, 2022, and to purchase the Land Rover, the suspect

provided a copy of the same counterfeit driver’s license that

was used to purchase the Panamera. 4 Moreover, the suspect who
signed the purchase agreement did so in the presence of a notary

public who recorded signatures and fingerprints from the suspect

in a notary journal. Thereafter, a fingerprints expert working

with the Los Angeles Police Department determined that the

prints in the notary journal belonged to WESSON.

           I then asked Porsche Car Connect Mobile Services to

activate the tracking device on the Panamera. On August 13,

2021, based on GPS data, the Panamera was found in Las Vegas,

Nevada. An officer from the Las Vegas Metro Police Department

spoke with the driver of the car, who stated that a friend with

AN’s first name gave her the Panamera and provided a description

of the friend that was consistent with WESSON’s appearance.

     J.    Law enforcement finds the stolen Harley Davidson
           motorcycle at the Palazzo West apartment complex

           On June 11, 2021, I returned to the Palazzo West

apartment complex where, with the consent of the building

manager, I checked the parking spaces assigned to Apartment 308,

which LEWIS rented using RM’s stolen identity.




     4 The Land Rover was financed through JP Morgan Chase for
$70,971.

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           In the Palazzo West parking garage, I observed the

Harley Davidson motorcycle, which was in one of the spaces

assigned to Apartment 308. I photographed the Harley Davidson,

which appeared as follows:




           On June 16, 2021, I returned to the Palazzo West

apartment complex, and this time found that the motorcycle was

no longer in the garage. I viewed the garage footage and

observed that on June 11, 2021, LEWIS went into the garage and

drove the motorcycle away. Stills from that surveillance

appeared as follows:




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               K.    LASD executes search warrant on Apartment 308
                     On June 17, 2021, LASD executed a state-issued search

          warrant on Apartment 308 of the Palazzo West apartment complex

          in case CHA21500228. Upon arrival, I knocked and announced

          numerous times, but the occupants would not open the door.

          Officers then forced the door open and encountered LEWIS and his

          minor son. During the execution of the warrant, a firearm with

          no serial number (i.e., a “ghost gun”) loaded with five rounds

          of ammunition was found below the balcony of Apartment 308. The

          gun was partially wrapped in a black shirt, and appeared as

          follows:




LEWIS's              While searching the apartment, officers found in

          WESSON’s bedroom documents and keys for a 2015 Jeep Wrangler
MRW
          bearing VIN 1C4BJWEG3FL708393, registered to victim JR, with an

          address in Hollywood, California (“the Wrangler”). Officers also

          found a key FOB for the Harley Davidson motorcycle. Officers

          subsequently located the Jeep Wrangler parked in the Palazzo

          West garage. Records show that the Wrangler was purchased on

          July 25, 2019 using the identity of JR at Mercedes Benz of

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Beverly Hills and was financed through Capital One the same day. 5
Following the search warrant, LEWIS was arrested and booked at

the LASD West Hollywood Station. LEWIS’s booking photograph

appeared as follows:




             After booking LEWIS, I read LEWIS Miranda warnings

verbatim from an LASD card. LEWIS stated that he understood his

rights and agreed to speak without an attorney present. During

the interview, LEWIS told law enforcement, including myself, the

following:

                  LEWIS met WESSON through an acquaintance, and

paid WESSON $3,000 to rent Apartment 308. WESSON submitted the

application for the apartment in RM’s name and created a

counterfeit identification using LEWIS’s photograph. WESSON told

LEWIS to identify himself as RM to Palazzo West employees.




     5 JR filed a fraud affidavit related to the purchase of the
Jeep Wrangler.

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                 WESSON purchased the Harley Davidson motorcycle

using GH’s identity and brought it to the Palazzo West apartment

complex so LEWIS could store it. LEWIS stated that he did not

know how WESSON obtained the motorcycle or that it was stolen.
                 LEWIS said he did not know where the motorcycle

was currently located.

                 LEWIS purchased the Jeep Wrangler from an

acquaintance he met through WESSON for $5,000. LEWIS did not

know to whom the vehicle belonged.

                 LEWIS denied possessing the firearm that officers

found beneath his balcony during the execution of the Apartment

308 search warrant.

     L.    Search warrant on Apartment 401

           On July 6, 2021, in case CHA21500247, LASD executed a

state search warrant on Apartment 401 of Garment Lofts, which as

described above, WESSON rented using RM’s stolen identity. This

was also the location where WESSON had the Harley Davidson

motorcycle -- acquired using GH’s stolen identity -- delivered.

           When LASD officers entered Apartment 401, they found

that the unit was unoccupied and contained only a small amount

of furniture and personal property. While searching the

apartment, officers found mail from Porsche Financial Services

addressed to victim AN, empty prescription bottles issued to

WESSON, and a Buyer’s Tag receipt for the Land Rover that was

purchased using AN’s PII. Officers also found a utility bill

from the Los Angeles Department of Water and Power (“LADWP”) for

services at Apartment 401 addressed to victim MS.


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           I then contacted MS, who informed me that she had no

knowledge of the utility account, that she had never lived in

Los Angeles, and that the account was opened without her

consent. MS also told me that she had previously been the victim

of identity theft, and that someone purchased a vehicle using

her PII from a dealership in Georgia and opened a cable account

in her name in Nevada. Thereafter, an LADWP employee told me

that the account at Apartment 401 had been open from March 10,

2021 through July 27, 2021, and that no payments had been made

to the account.

     M.    Wesson uses victim RD’s PII to rent high-end
           apartments

           To reiterate, WESSON contacted the Cycle Exchange

salesman regarding delivery of the Can-Am motorcycle -- that he

attempted to purchase with MB’s PII -- from a phone number

subscribed to WESSON at Steelworks Apartment 3462.

           In July 2021, I contacted the manager of the

Steelworks apartment complex regarding Apartment 3462. Records

from the complex show that the unit was rented in the name of

victim RD on June 18, 2021, and that a counterfeit Florida

driver’s license was used to secure the apartment. The license

displayed RD’s PII, but the photograph on the license depicted

WESSON, and appeared as follows:




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           I then contacted RD, who resides in Minnesota, and who

said that he discovered someone was using his PII when he began

receiving phone calls from the Russell Westbrook Maserati in Los

Angeles about an attempted car purchase in his name. 6 RD also

received calls from apartment complexes in Georgia about rental

applications submitted in his name, and notices from collection

agencies about unpaid debts. RD told me that he did not know

WESSON and never authorized him to use his PII for any purpose.

WESSON never paid for Apartment 3462, and as a result, the

Steelworks apartment complex suffered a loss of $12,133.01.

     N.    Wesson uses victim DF’s PII to rent Apartment 538

           Through a law enforcement database, I found another

potential identity theft victim, BL, who was associated with

Apartment 3462. I also found that BL was associated with

Apartment 538 at the Local on 14th apartment complex in Atlanta,

Georgia (“Apartment 538”). I contacted the manager of the



     6 The suspect attempted to purchase a BMW 5 series for
$27,995 using DL’s identity, though the sale was not approved.

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complex, who stated that no one named BL resided in the

building, but that mail addressed to BL had been delivered to

Apartment 538. Rental documents show that this unit was rented

in the name of victim DF and secured with a Texas driver’s

license. The driver’s license displayed DF’s name, but WESSON’s

photograph. The license appeared as follows:




        O.   Fulton County Sheriff’s Office executes a search
             warrant on Apartment 3462

             On September 4, 2021, in case SW026188, personnel from

the Fulton County Sheriff’s Office in Georgia executed a search
warrant on Apartment 3462 and encountered WESSON inside the

unit.

             While executing the warrant, officers found that

WESSON was in possession of a 2017 Land Rover bearing VIN

SALWR2FK5HA690024, which was registered to victim TH. Records

show that the legal owner of the car was Texas Direct Auto Inc.

and that it was purchased through Vroom, with a credit

application submitted on June 14, 2021. The purchase documents

show that the car was financed with TH’s PII on June 16, 2021

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